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Exhibit 6
 

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Advertised: 2-9-09 | Closing Date: 1-10-09.

 

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Straits Orthopaedics (Mfg) Sdn Bhd

Straits Orthopaedics (Mfg) Sdn Bhd ("Straits") is a Malaysian company situated at Teluk
Kumbar. Straits is a medical devices manufacturer and our principal business is the
production, cleaning and packaging of orthopaedics devices and accessories (trauma and
reconstructive ) and wound care products. Mainly, all our product are exported to our
customers in the United States of America.

Straits is a company certified with ISO 13485:2003 and ISO 9001:2000. Currently, we have
approximately 400 employees and due to our expansion, we are looking for qualified
candidate to join our team as :

Process Engineers

(Penang - Teluk Kumbar, Penang)
Responsibilities:

e Monitor process performance indices on qualified processes and establish good controls
to maintain process performance ° -

e Troubleshoot process issue, identify root cause and work with other departments to
establish new process

e Prepare manufacturing work instruction plan and operating procedures for new process
requirement

e To ensure that the process operates at optimum level with consideration to cost,
quality and delivery

e Participate in activities regarding time study and process improvements

e Assist in the development of training and provide training to production personnel
during new product transfer _

Requirements:

e Candidate must possess at least a Bachelor's Degree, Post Graduate Diploma or
Professional Degree in Engineering (Bioengineering/Biomedical), Engineering (Material
Science), Engineering (Mechanical), Engineering (Metal Fabrication/Tool &
Die/Welding), Engineering (Industrial) or equivalent.

e Required skill(s): Process control skills, process capability studies skills, understanding

of technical drawing.

Preferred skill(s): machining skills, knowledge of ISO.

Required language(s): Bahasa Malaysia, English

At least 1 year(s) of working experience in the related field is required for this position.

Preferably Junior Executives specializing in Engineering - Industrial or equivalent. Job

role in Industrial/Production Engineer or equivalent.

1 Full-Time positions available.

e Applicants should be Malaysian citizens or hold relevant residence status.

 

 

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Interested applicants are invited to apply online or write / fax-in your detailed resume
stating personal particulars, qualification, employment history, remuneration expected,
contact number and a passport-sized photograph (n.r.) to:

Straits Orthopaedics (Mfg) Sdn Bhd
(Advert @ JobStreet.com)
2,Lengkok Teluk Kumbar 1

Jalan Teluk Kumbar
11920 Bayan Lepas
Penang

Fax: XX-XXXXXXX

Only shortlisted candidates

 

& Email to Friends

   

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2, Lengkok Teluk Kumbar 1 Jalan Teluk Kumbar Bayan Lepas 11920.

 

 

 

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